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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES − GENERAL

 Case No.    2:23−cv−04045−RGK−JC                                  Date   7/10/2023
 Title       ARTHUR DENHAM V. WEATHERFORD U.S. L.P. ET AL

 Present : The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
        Joseph Remigio              Katherine Stride         N/A
          Deputy Clerk          Court Reporter / Recorder  Tape No.

     Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:
     James Cordes                                 Heather Hearne




Proceedings:       SCHEDULING CONFERENCE

   Case called. Court and counsel confer. The Scheduling Conference is held and the
Court sets the following dates:

    Jury Trial (Est. 4−6 days):                    March 12, 2024 at 09:00 AM
    Pretrial Conference:                           February 26, 2024 at 09:00 AM
    Motion Cut-Off Date (last day to file):        December 26, 2023
    Discovery Cut-Off Date (fact discovery):       December 12, 2023

    Last day to amend the complaint or add parties is 8/10/2023 . The parties shall
participate in ADR SP2 .

     IT IS SO ORDERED.
                                                                                         :02
                                                                  Initials of Preparer: jre




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